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 7   Attorneys for Mendoza Plaintiffs
 8
                           UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
10
     Roy and Josie Fisher, et al.,                  Case No. 4:74-CV-00090-DCB
11
                           Plaintiffs,
12
                   v.                               MENDOZA PLAINTIFFS’
13                                                  CERTIFICATE AND NOTICE
     United States of America,                      REGARDING TRANSCRIPTS
14
                           Plaintiff-Intervenors,
15
                   v.
16                                                  Hon. David C. Bury
     Anita Lohr, et al.,
17
                           Defendants,
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     Sidney L. Sutton, et al.,
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                           Defendant-Intervenors,
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     Maria Mendoza, et al.,                            Case No. CV 74-204 TUC DCB
 1
                          Plaintiffs,
 2
     United States of America,
 3
                          Plaintiff-Intervenor,
 4
                   v.
 5
     Tucson United School District No. One, et al.,
 6
                          Defendants.
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10
            Under Fed. R. App. P. 10 and Cir. R. 10-3.1(c), Plaintiffs Maria Mendoza, et al., in
11
12   the above-named case, hereby certify and give notice that the parties agree that there are no

13   reporter’s transcripts related to this appeal and that Plaintiffs—Appellants in Ninth Circuit
14   appeal no. 22-16478—will therefore order no transcripts.
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20   Respectfully submitted,

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     Dated: October 28, 2022
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                               MALDEF
 2                             ERNEST I. HERRERA
                               THOMAS A. SAENZ
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 4
                               /s/___Ernest I. Herrera____________
 5                             Attorneys for Mendoza Plaintiffs
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 1                                CERTIFICATE OF SERVICE
 2   I hereby certify that on October 28, 2022, I electronically submitted the foregoing
 3   MENDOZA PLAINTIFFS’ CERTIFICATE AND NOTICE REGARDING
     TRANSCRIPTS to the Office of the Clerk of the United States District Court for the
 4   District of Arizona for filing and transmittal of a Notice of Electronic Filing to the
     following CM/ECF registrants:
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18                                                    /s/ Ernest I. Herrera
19   Dated: October 28, 2022                            Ernest I. Herrera

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